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UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLORADO

VANESSA DAVIS
Plaintiff~

vs. Civil Action No.

BUDGET CONTROL SERV]CES. INC.

\“/‘-“/\“/\_,/\_/\\_J\_,./\_,/\,.J\_/

De!"endz':lniq

COMPLAINT AND DEMANB FOR JURY TRIAL
VANESSA DAVIS, (“Plaintifi"). Lhroug,h the undersigned counsel, ALEX
SIMANOVSKY & ASSOCIATES_ LLC, aileges the following against BUDGET CONTROL

SERVICES, INC. {"`Defendant”):

INTRODUCTION

l. This is an action for actual and statutory damages brought by plaintiff Vanessa
Davis an individuaf consumer, against defendant Budget Controi Services_, Inc. for violations of
the Fair Debt Colleciion Practices Act, §§ U.S.C. § 1692 el seq. (hereinafter “‘FDCPA”) Which
prohibits debt coilectors from engaging in abusive <,i¢;ece;;>tive.l and unfair practices

.¥URISDICTION

2. Jurisdiction ofthis court arises under I5 U.S.C. § l692k(d) and 23 U.S.C. § 1337.
Declaratory reliefis available pursuant to 28 U.S.C. §§ 2201 and 2202. Venue in this District is
proper iri that the Defendant transacts business here and Ihe conduct complained of occurred

here

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PARTIES

3. Plaintit`f, Vanessa Davis is a consumer` a natural person allegedly obligated to pay
any debt, residing in Jeiferson County, in the state ol`Colorado. l

4. Defendant` Bud get Control Services, lnc. is a corporation engaged in the business
of collecting debt in this state with its principal place of business located in Arapahoe County at
2950 South lamaica Court. Stiite ?,OG, Aurora, Colorado 80014. The principal purpose of
Defendant is the collection of debts in this state and Defendant regularly attempts to collect debts
alleged to be due another.

5. Defendant is engaged in the collection of debts from consumers using the mail
and telephone Det`endant regularly attempts to collect consumer debts alleged to be due to
another. Defendant is a “debt collector" as deiined by the P`DCPA, l5 U.S.C_ § l692a(6).

FACTUAL ALLEGATIONS

6. Upon information and belief within one year prior to the filing of this complaint
Defendant placed collection calls to Plaintii`f. seeking and demanding payment for an alleged
consumer debt owed under an account number.

7. Tlie debt that Dci`endant is attempting to collect on is an alleged obligation of a
consumer to pay money arising out of a transaction in Which the money, property insurance or
services which are the subject of the transaction are primarily for personal, family, or household
purposes, whether or not such obligation has been reduced to judgment; specifically concerning a
medical debt.

S. Upon information and belief_. l)efendant began contacting Plaintii`f and placing

collection calls to Plaintifi` in Decernber of 2(}10.

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9. Upon information and beliel", within one year prior to the filing of this complaint,
Defendant both lied to and misled Plaintift`, through falseq or at the very least misrepresentative
statements by threatening Plaintit`t that she had until the 30th of l\/larch to cede to Defendant’s
demand for payment or action Would be taken against her, as Well threatening Plaintit`f with the
commencement of litigation against her, stating ‘“You need to pay at least half of this by the 30th
or Sl O0.00 by the 30“' or We Will have to take you to court and pay all of the court costs[.]” Tlie
latter threat was made by an agent Who identified herself as ‘Jannette` who called around 2
o’clock postmeridian, pacific standard time on or around l\/larch 3 l , 2011.

lG. Upon information and beliet`, to date, De,t`endant has not taken any final definite
action to commence litigation against Plaintifl", and does not have the legal standing to do so.

l l. During collection attempts, Det`endant called Plaintifl"s cousin, who is a third
party to the alleged debt, at l»3 03~870~66} 8, and alerting him to Plaintift’s alleged debt Without
Plaintift’ s consent

l2. Defendant utilized unfair and unconscionable means to collect on Plaintifi’s
alleged debt, by lying to Plaintift", as Well as by contacting Plaintift"s cousin, Who is a third party
to the alleged debt, and alerting him to the alleged debt vvithout Plaintit`t"s consent

l3. As a result of the acts alleged above Plaintil"iC suffered emotional distress resulting
in her feeling stressed and embarrassed

FIRST CLAll\/l FOR RELIEF

l4. Plaintif:l` repeats and realleges and incorporates by reference to the foregoing
paragraphs

15. Dei"endant violated the FDCPA. Det`endant’s violations include, but are not

limited to, the ioilovving:

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(a) Defendant violated §1'692e(i` ()) of the FDCPA by using false.
deceptive or misleading representation or means in connection with the
collection ofl’laintifi` s alleged debt; and

(b) Defendant violated §1692e(5) of the Fl)CPA by threatening to take
action that it did not intend to take; and

(c) Det`endant violated §l 692/fof the FDCPA by using unfair or
unconscionable means in connection With the collection of an alleged
debt; and

(d) Defendant violated §16923(2) (B) of the FDCPA by falsely
representing the services rendered or compensation Which may be lawfully
received by the Defendant for the collection of the alleged debt; and
(e) l)efendant violated §] 692€(}>) of the FDCPA by contacting a third
party in connection With the collection of the alleged debt without the
consent ofthe Plaintit`f and the contact vvas not in a manner covered by
§16921) of the FDCPA.
l6. As a result of the foregoing violations of the FDCPA, Defendant is liable to the
plaintiff Vanessa Davis for declaratory judgment that Defendant’s conduct violated the FDCPA,

actual damagesq statutory damages, and costs and attorney fees.

SEC()ND CLAll\/l FOR RELIEF

 

l7`. Plaintift` repeats and realleges and incorporates by reference to the foregoing
paragraphs
18. l)efendant violated the Colorado Fair Debt Collection Praetices Act (hereinafter
"CFDCPA"). Defendant`s violations iiiclnde, but are not limited to the following:
(a) Defendant violated §12-]4-1 (}7(1)(1,{) oftl'ie CFDCPA by using false_. deceptive
and/or misleading representations or means in connection With the collection of

any debt; and

(b) Defendant violated 5\`12»!4»](}7(1)(}:) of the CFDCPA by threatening to take
action that it did not intend to take

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l‘}. Defendant's acts as described above were done intentionally with the purpose of
coercing Plaintiffto pay the alleged debt.

20. As a result ol`the above violations of the CFDCPA, Defendant is liable to plaintiff
Vanessa Davis for injunctive and declaratory relief and for actual damages, statutory damages and
attorney fees and costs.

WHEREFORE, Plaintil`t` respectfully requests that judgment be entered against
Defendant Budget Control Services, lnc. for the following:

A. Declaratory judgment that Defendant’s conduct violated the FDCPA, and
declaratory and injunctive relief for Del`endant`s violations of the CFDCPA.

B. Actual damages

C. Statutory damages pursuant to 15 U.S.C. § l692k.

D. Statutoi"y damages pursuant to Colo. Rev. Stat. § lQ*l/-l-l l3.

E. Costs and reasonable attorney fees pursuant to 15 U.S.C. § l692l<. and Colo. Rev.
Stat. § l2-14-ll3.

F. For such other and further relief as the C.ourt rnay deem just and proper.

DEMAND FOR JURY TRIAL

PL'E,ASE TAKE N()'l`lCE that PlaintiffVAl\lESSA DAVIS demands trial by jury in this

action
This lam day of Septeniber. ’ZGl l.

By: /s/ Afex Simanr)vskv

Alex Sirnanovsl<y, Esq.

Attorney for Plaintiff

[Adrnitted to the District of CO Bar]
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